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                              UNITED STATES DISTRICT COURT

                                 DISTRICT OF SOUTH DAKOTA

                                       WESTERN DIVISION


 UNITED STATES OF AMERICA,                                        5:23-CR-50126-RAL

                         Plaintiff,

                                                                   SENTENCING
         vs.                                                    SCHEDULING ORDER

 JACOB CHINNI WILSON,

                         Defendant.




        Defendant Jacob Chinni Wilson appeared before Magistrate Judge Daneta Wollmann for a


change of plea hearing on November 6, 2023. Judge Wollmarm issued a Report and


Recommendation recommending that the Court accept Defendant's plea of guilty to Attempted


Enticement of a Minor Using the Internet as alleged in the Indictment. For good cause, it is hereby


        ORDERED that this Court adopts the Report and Recommendation, Doc. 28, the plea of

guilty is accepted, and Defendant is adjudged guilty of Attempted Enticement of a Minor Using

the Internet as alleged in the Indictment. It is further


        ORDERED that the draft presentence report shall be filed by the Probation Office in

CM/ECF using the Draft Presentence Report event by December 26, 2023. It is further

        ORDERED that any objection to the presentence report and notice of intent to seek a


departure by either the Government or the Defendant shall be filed by counsel in CM/ECF using

the Objections to Presentence Report event by January 8, 2024. If counsel has no objections to
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the presentence report, counsel should indicate such by using the Notice of No Objections to


Presentence Report event. It is further


       ORDERED that all letters of support shall be filed by counsel in CM/ECF using the Sealed

Letter(s) of Support event by January 22,2024. All letters of support shall be legibly scanned as

one document and not scanned as separate documents. It is further


       ORDERED that the final presentence report shall be filed by the Probation Office in

CM/ECF using the Final Presentence Report event by January 22, 2024. An addendum setting


forth any unresolved objections, the grounds for those objections, and the probation officer's


comments on those objections shall also be filed in CM/ECF using the Addendum to Final

Presentence Report event. It is further


       ORDERED that any Sentencing Memorandum and Motion for Departure or Variance shall


be filed in CM/ECF by January 29, 2024. It is further

       ORDERED that the sentencing hearing and any necessary evidentiary hearing regarding


sentencing shall be held on Monday, February 5, 2024, at 4:00 p.m., in the Courtroom of the


U.S. Courthouse in Rapid City, South Dakota.


       DATED this 7th day of November, 2023.

                                             BY THE COURT:


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                                             ROBERTO A. LANGE
                                             CHIEF JUDGE
